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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                         CASE NO.

 KIM JUNG STUBBLEFIELD,                                         CHAPTER 7

                 Debtor.

                 UNSWORN DECLARATION REGARDING PAY ADVICES

       I, Kim Jung Stubblefield, do hereby declare under the penalty of perjury that I did not
receive pay advices or other evidence of payment from an employer during the time period
extending from ______________________, 20____, through ______________________,
20____, inclusive.


X       I, Kim Jung Stubblefield, do hereby declare under the penalty of perjury that I did not
receive any wages or pay from an employer during the 60 days immediately prior to the date of
the filing of the petition in the instant case.


Dated: 6/10/2021

                                Signed: _____________________
                                       Kim Jung Stubblefield




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